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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 13 DEC | 3 FH l: l l
FT. MYERS DIVISION __
CLERH. U_S. {Ja§'= i P.!.”.'T COURT
MIDDLE DLS'I`RICT OF FLOR!DA
FT. MYERS. FLOR|DA

SAMUEL MCKAY, CASE NO.:
Plaintiff,

VS' QSL;_a-c\_/_g:_é€_-ijg MAH

MIDLAND CREDIT MANAGEMENT, INC.
Defendant.

 

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, SAMUEL MCKAY [hereinafter Plaintiff], by and through undersigned counsel
sues Defendant, MIDLAND CREDIT MANAGEMENT, INC. [hereinafter Defendant], and
alleges:

JURISDICTION AND VENUE

l. This Court has jurisdiction under 28 U.S.C. §§ 1331. Mims v. Arrow Financz'al
Services, LLC, 132 S. Ct. 740(2()12); Mz`ms v. Arrow Financial Services, LLC, 2012 U.S. LEXIS
906 (2012). Venue in this District is proper because Plaintit`f resides here and Defendant placed

telephone calls into this District.

PARTIES
2. Plaintiff is a natural person who resides in Lee County, Florida.
3. Defendant, Midland Credit Management, Inc. is a corporation and citizen of the

State of Califoi'nia with its principal place of business at 31 ll Camino Del Rio North, Suite
1300, San Diego, CA 92108.
FACTS COMMON TO ALL COUNTS

4. On or about January 2013, Defendant, or another party acting on its behalf, placed

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a call and left a message using an automatic telephone dialing system or an artificial or

pre-recorded voice on Plaintist cellular telephone

5. As of the date of this complaint, Defendant, or another party acting on its behalf`,
has continued to continuously place other telephone calls using an automatic telephone dialing
system or an artificial or pre-recorded voice to place other telephone calls and leave messages on
Plaintiff"s cellular telephone.

6. Each call the Defendant made to the Plaintiff was made using an “automatic
telephone dialing system” Which has the capacity to store or produce telephone numbers to be
called, using a random or sequential number generator; and to dial such numbers as specified by
47 U.S.C. §227(a)(l) to Plaintiff’s cellular telephone.

7. Each call the Defendant made to the Plaintist cellular phone was done so
Without the “express permission” of the Plaintiff.

8. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as they did to the Plaintiff’s cellular
telephone in this case.

9. None of Defendant’s calls placed to Plaintiff were for “emergency purposes” as
specified in 47 U.S.C. §227 (b)(l)(A).

10. Defendant willingly or knowingly violated the 'I`CPA.

COUNT ONE: VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

Plaintif`f` re-alleges paragraphs five (5) through ten (10) as if fully restated herein and
fin‘ther state as follows:

ll. Defendant, or others acting on its behalf, placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system or pre-recorded or

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artificial voice in violation of 47 U.S.C. §227 (b)(l)(A)(iii).

12. The Federal Communications Commission has held: a creditor on whose behalf
an autodialed or pre-recorded message ca11 is made to a wireless number bears the responsibility
for any violation of the Commission’s rules.” FCC, IN THE MATTER OF RULES AND
REGULATIONS IMPLEMENTING THE TELEPHONE CONSUMER PROTECTION ACT
OF 119: REQUEST OF ACA INTERNATIONAL FOR CLARIFICATION AND
DECLARATORY RULE, 07-232M 1110, (2007), (“FCC RUL. 07-232”)

WHEREFORE, Plaintiff` demand judgment against Defendant for damages, attomey’s
fees, costs, interest, and such other relief as this Court deems just and equitable.

JURY TRIAL DEMAND

Plaintiff` demands a jury trial on all issues so triable.

MAX STOR P.A.

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MAX 0RY:E-s'6. '
Flori Bar No. 527
328 2nd Avenue N., Suite 100

Jacksonville Beach, FL 32250
(904) 372-4109 telephone
(904) 758-5333 facsimile
max@maxstorylaw.com
Attomey for Plaintiff`

